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                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

LANDSCAPE CONSULTANTS OF                    Civil Action No. 4:23-cv-3516
TEXAS, INC., and
METROPOLITAN LANDSCAPE
MANAGEMENT, INC.,

                 Plaintiffs,                      COMPLAINT FOR
v.                                              DECLARATORY AND
                                                INJUNCTIVE RELIEF
CITY OF HOUSTON, TEXAS, and
MIDTOWN MANAGEMENT
DISTRICT,                                     JURY TRIAL DEMANDED

                 Defendants.



                               INTRODUCTION
      1.    This is an Equal Protection Clause challenge to the City of Houston

and Midtown Management District’s requirements for awarding public

contracts based on the race of the bidding company’s owner.

      2.    Plaintiffs Landscape Consultants of Texas, Inc. (Landscape

Consultants), and Metropolitan Landscape Management, Inc. (Metropolitan),

are two Houston-area small businesses that share approximately fifty

employees. When they bid for local public contracts, Landscape Consultants

and Metropolitan cannot compete on an equal footing with other businesses

due to policies of Defendants City of Houston and Midtown Management

District that give preferences to businesses owned by racial minorities.



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      3.    Although most of Landscape Consultants’ and Metropolitan’s

employees are racial minorities, the owners are not. These businesses are thus

placed at a disadvantage just because their owners are not from a preferred

race. Picking winners and losers based on race violates the Equal Protection

Clause of the Fourteenth Amendment to the U.S. Constitution.

                       JURISDICTION AND VENUE

      4.    Plaintiffs bring this civil rights lawsuit pursuant to 42 U.S.C.

§§ 1981 & 1983, for the violation of rights secured by the Fourteenth

Amendment to the United States Constitution and to secure their rights to

equal protection and equal benefit of the laws.

      5.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 (federal question) and 1343 (civil rights). Declaratory relief is

authorized by the Declaratory Judgment Act, 28 U.S.C. §§ 2201−2202.

      6.    Venue is proper under 28 U.S.C. § 1391(b), on the ground that all

or a substantial part of the acts giving rise to Plaintiffs’ claims have occurred

or will occur in the Southern District of Texas.

                                  PARTIES

      7.    Plaintiff Landscape Consultants of Texas, Inc., is a Texas

corporation with its principal place of business in Spring, Texas. Landscape

Consultants is 51 percent owned and controlled by a male individual who does

not qualify as a Minority Business Enterprise (MBE) under the City’s MBE


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ordinance. Landscape Consultants has bid on landscaping contracts offered by

Defendant City of Houston in the past, and stands ready, willing, and able to

bid on government contracts in the greater Houston area.

      8.    Plaintiff Metropolitan Landscape Management, Inc., is a Texas

corporation with its principal place of business in Spring, Texas. Metropolitan

is 51 percent owned by a female individual who does not exercise day-to-day

control and does not qualify as an MBE under the City’s MBE ordinance.

Metropolitan has bid on landscaping contracts offered by Defendant Midtown

Management District in the past, and is ready, willing, and able to bid on

government contracts in the greater Houston area.

      9.    Defendant City of Houston is a municipality of the State of Texas.

A municipality is a “person” subject to suit under 42 U.S.C. § 1983. Monell v.

Dep’t of Social Services of City of New York, 436 U.S. 658, 690 (1978). Through

the City’s Office of Business Opportunity (OBO), the City and its agents are

responsible for implementing and enforcing the City’s minority set-aside

program. Houston Code § 15-84(b).

      10.   Defendant Midtown Management District (MMD) is a special

district created under Section 59, Article XVI of the Texas Constitution and

operates under Chapter 375 of the Texas Local Government Code and Chapter

3809 of the Texas Special Districts Local Laws Code. A special district is a

political subdivision that qualifies as a “person” subject to suit under 42 U.S.C.


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§ 1983. Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 280

(1977). Through its Board of Directors, who were appointed by the Houston

Mayor and City Council, MMD and its agents are responsible for implementing

and enforcing MMD’s minority set-aside programs. Tex. Local Gov’t Code

§ 375.222.

                         FACTUAL ALLEGATIONS

                          The Plaintiff Companies

      11.    Landscape Consultants and Metropolitan are family businesses

owned by Gerald and Theresa Thompson. The companies share approximately

fifty employees.

      12.    Since 2006, they have provided full-service landscaping across the

Houston metro area, including irrigation installation, landscape design, and

routine maintenance.

      13.    Both companies have a successful track record; they have a history

of winning and delivering on large public contracts with the City, Harris

County, and local government agencies, including a $1.5 million flood control

tree planting and maintenance contract for Harris County. Due to their quality

performance and fair pricing, Landscape Consultants and Metropolitan’s

public contracts are routinely renewed, and government agencies seek the

companies out for assistance when other contractors fail to deliver.




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      14.   Much of Metropolitan and Landscape Consultants’ business

depends on winning government landscaping contracts, which account for

between 80−90 percent of their annual revenue.

                  Houston’s Racial Set-Aside Program

The MWSBE Program Requirements

      15.   The City has operated a racial set-aside program since 1984. It is

City policy to “stimulate the growth of local minority, women, and small

business enterprises by encouraging the full participation of these business

enterprises in various phases of city contracting.” Houston Code § 15-81(a).

      16.   To further this policy, the City Council sets annual citywide

percentage goals for awarding City contracts in construction, goods and

nonprofessional services, and professional services to businesses that either

(1) are owned by racial minorities, known as “minority business enterprises”

or “MBEs,” (2) are owned by women, known as “women business enterprises”

or “WBEs,” or (3) qualify as “small business enterprises” or “SBEs.” Houston

Code § 15-83(b). Collectively, MBEs, WBEs, and SBEs are referred to as

“MWSBEs.”

      17.   Landscape Consultants and Metropolitan do not challenge the

City’s preference program for either woman-owned business enterprises or

small business enterprises.




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      18.   City ordinance defines “minority business enterprise” or “MBE” as

a business in which at least 51 percent of the ownership, stock, or assets is

owned, controlled, and managed by “minority persons.” Houston Code § 15-82.

      19.   The City in turn defines “minority person” along strict racial and

ethnic lines as “a citizen or legal resident alien of the United States who is:

      a. Black American, which includes persons having origins in any of the

         black racial groups of Africa;

      b. Hispanic American, which includes persons of Mexican, Puerto Rican,

         Cuban, Central or South American, or other Spanish or Portuguese

         culture or origin, regardless of race;

      c. Asian-Pacific American, which includes persons having origins from

         Japan, China, Taiwan, Korea, Burma (Myanmar), Vietnam, Laos,

         Cambodia     (Kampuchea),        Thailand,   Malaysia,   Indonesia,   the

         Philippines, Brunei, Samoa, Guam, the U.S. Trust Territories of the

         Pacific Islands (Republic of Palau), the Commonwealth of the

         Northern Marianas Islands, Macao, Fiji, Tonga, Kiribati, Juvalu [sic],

         Nauru, the Federated States of Micronesia, or Hong Kong, or the

         region generally known as the Far East;

      d. Native American, which includes persons having origins in any of the

         original people of North America, American Indian, Eskimo, Aleut,

         Native Hawaiian; or


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       e. Subcontinent Asian American, which includes persons whose origins

           are from India, Pakistan, Bangladesh, Bhutan, the Maldives Islands,

           Nepal, or Sri Lanka.”

Houston Code § 15-82.

       20.     The citywide overall goal for construction contracts awarded to

MWSBEs, which has remained the same for a decade, is 34 percent of overall

contracting dollars spent. The citywide goal for professional services contracts

awarded to MWSBEs is 24 percent, and goods and nonprofessional services

contracts awarded to MWSBEs is 11 percent.

       21.     City departments are required to set contract-specific percentage

goals for construction contracts in excess of $1 million, goods and

nonprofessional services contracts in excess of $100,000, and professional

service contracts in excess of $50,000. Houston Code §§ 15-82, 15-83(c)(2);

Office of Business Opportunity, Policies and Procedures (Feb. 2, 2022) at 22.1

These contract-specific goals are not required in specific circumstances, such

as during a state of public or administrative emergency, or if the possible

MWSBE participation level is negligible. Houston Code § 15-83(c)(1).

       22.     City construction contracts include separate percentage goals for

MBEs and WBEs. SBEs may be used to fulfill up to 4 percent of either the MBE



1 Available at https://www.houstontx.gov/obo/docsandforms/OBO-Policies-and-Procedures-

20220202.pdf



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or WBE goal. City contracts for professional services or goods and

nonprofessional services have combined MWBE percentage goals. These

combined goals may be met with MBE participation, WBE participation, or a

combination of both that may also include up to 4 percent SBE participation.

       23.    Prior to bidding on any City contract, bidders must submit a plan

explaining how they will meet the contract-specific goal or provide proof that

they took specific steps demonstrating a genuine good faith effort to obtain

MWSBE participation.

       24.    Failure to prove good faith efforts can lead to a five-year

suspension from all City contracts. Houston Code § 15-86(a).

The MWSBE Program’s Justification

       25.    At least every five years, the City “shall make its best efforts” to

review the minority business enterprise program so that the City Council may

determine whether there is “strong statistical and anecdotal evidence of

discrimination” against minority business enterprise in city contracting that

warrants a continued race-conscious policy. Houston Code § 15-81(b).

       26.    The City undertakes this review of its MWSBE program through

comprehensive disparity studies. The most recent comprehensive disparity

study is dated December 31, 2006. 2



2
 The City of Houston Disparity Study, Mason Tillman Associates, December 2006,
https://www.houstontx.gov/obo/docsandforms/2006-COH-Disparity-Study.pdf



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      27.   The City contracted for but never released a 2016 comprehensive

disparity study.

      28.   The City recently engaged a consulting firm to provide a new

disparity study.

How the MWSBE Program Affects the Plaintiff Businesses

      29.   Landscape Consultants is currently in year three of a $1.3 million,

five-year contract with the City. The contract-specific goal for MWBEs in this

nonprofessional services contract is 11 percent of the total contract value.

      30.   This means that Landscape Consultants must take at least

$143,000 of work away from its (largely minority) staff, even though they are

capable of doing the work, and pay a competitor to do the work—solely because

of the race of Landscape Consultants’ owner and the race of its competitor’s

owner.

      31.   Similarly, when bidding on a contract, Plaintiffs’ bid must

compensate for the percentage of the total contract value that must be given

away to an MBE or WBE.

      32.   Plaintiffs’ competitors, who are certified MWBEs, are not required

to give away the entire value of the contract-specific goal or compensate for

such loss in their bids.




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      33.   Plaintiffs have no plain, speedy, and adequate remedy at law for

this violation of their right to equal protection. Damages are indeterminate or

unascertainable and would not fully redress Plaintiffs’ harm.

                      MMD’s Racial Set-Aside Program

The MWDBE Program

      34.    Defendant MMD enforces a race-based bid evaluation system for

public contracts. This system awards bonus points to bids from “minority,

women, and disadvantaged business enterprises” (MWDBEs) that are certified

by the City, the Houston Minority Business Council, or the “Houston Women’s

Business Council.”

      35.    MMD communicates its MWDBE program to bidders through bid

documents accompanying each contract, which contain a paragraph advising

bidders that “[i]t is the policy of the Midtown District to stimulate the growth

of minority, women, and disadvantaged business enterprises by encouraging

the full participation of MWDBE businesses in all phases of its procurement

activities and affording those firms a full and fair opportunity to compete for

contracts.” See, e.g., Ex. 1−4.

      36.    MMD also communicates its MWDBE policy through its published

criteria for evaluating bids. Bidders may earn up to 100 points across four

categories. Ten points are awarded for being a minority business enterprise.




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The other three categories and their point allocations have changed over the

years, but the 10 points awarded to MWDBEs remains constant. Id.

        37.   Businesses that are not certified MWDBEs can never receive these

10 points and are therefore put at a significant disadvantage because of their

race.

        38.   MMD did not conduct a market study to support its policy that

awards points based on the race of a business’s owner.

How MMD’s race-based programs affect Plaintiff Businesses

        39.   Plaintiff Metropolitan has successfully bid on MMD contracts since

the early 2000s.

        40.   Plaintiffs are majority-owned by individuals who cannot qualify as

minority-owned and cannot qualify for an MWDBE preference. Plaintiffs

cannot be certified as an MBE or WBE by the City.

        41.   In 2022, Metropolitan bid for the Field Maintenance Services

Project, a contract it had repeatedly won for the last fifteen years. Bids were

evaluated on the following point scale:

        Financial considerations – 50 points
        Organizational Qualifications and References – 25 points
        Proposed Approach – 15 points
        Minority, Women, Disadvantaged Enterprise (MWDBE) – 10 points

Only the 10 MWDBE points are awarded on an all-or-nothing basis. Ex. 3.




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      46.   Plaintiffs have no plain, speedy, and adequate remedy at law for

this violation of their right to equal protection. Damages are indeterminate or

unascertainable and would not fully redress Plaintiffs’ harm.

                        FIRST CLAIM FOR RELIEF
 The City of Houston’s MBE Program Violates the Equal Protection
  Clause of the Fourteenth Amendment, through 42 U.S.C. § 1983
      47.   Plaintiffs allege and incorporate by reference the allegations in the

preceding paragraphs of this Complaint.

      48.   The City’s MWSBE program treats businesses differently based on

the race of their owners.

      49.   Because the City’s MWSBE program grants special preferences to

businesses based on the race of the business owner, it must satisfy strict

scrutiny.

      50.   The City does not have a compelling governmental interest that

justifies the MWSBE program’s racial classifications.

      51.   The City lacks a strong basis in evidence that its MBE goals are

related to remedying the past or present effects of racial discrimination in any

particular industry or in the City.

      52.   The MWSBE program’s racial classifications are not narrowly

tailored to meet any such compelling interest.




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          53.   Because the City’s MWSBE program uses racial classifications to

award public contracts, furthers no compelling interest, and is not narrowly

tailored, it violates the Equal Protection Clause.

          54.   Plaintiffs have been in the past and, unless enjoined by this Court,

will continue to be harmed in the future by the City’s MWSBE program.

          55.   Accordingly, Plaintiffs are entitled to injunctive and declaratory

relief.

                          SECOND CLAIM FOR RELIEF
MMD’s MWDBE Program Violates the Equal Protection Clause of the
       Fourteenth Amendment, through 42 U.S.C. § 1983
          56.   Plaintiffs allege and incorporate by reference the allegations set

forth in the preceding paragraphs of this Complaint.

          57.   MMD’s MWDBE program treats businesses differently based on

the race of their owners.

          58.   Because MMD’s MWDBE program grants special preferences to

businesses based on the race of the business owner, it must satisfy strict

scrutiny.

          59.   MMD does not have a compelling governmental interest that

justifies the MWDBE program’s racial classifications.

          60.   MMD lacks any basis, let alone a strong basis in evidence, that its

10-point MBE set-aside is necessary to remedy past or present racial

discrimination.


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      61.    The City of Houston’s racial classifications as adopted by MMD’s

MWDBE policy are not narrowly tailored to a compelling governmental

interest.

      62.    The MWDBE policy’s broad borrowed definition of “minority

persons” and its crude division between minority and nonminority owned

businesses are beyond the scope of what is constitutionally permissible to

remedy past intentional discrimination by MMD.

      63.    Plaintiffs have been in the past, and unless enjoined by this Court,

will in the future be harmed by MMD’s MWDBE program.

      64.    Plaintiffs are entitled to injunctive and declaratory relief.

                           THIRD CLAIM FOR RELIEF

            City of Houston’s MBE Program Violates Plaintiffs’ Equal
                 Rights Under the Law, through 42 U.S.C. § 1981

      65.    Plaintiffs allege and incorporate by reference the allegations set

forth in the preceding paragraphs of this Complaint.

      66.    Plaintiffs are “persons” within the meaning of 42 U.S.C. § 1981.

      67.    The City of Houston’s MBE Program discriminates on the basis of

race in violation of 42 U.S.C. § 1981.

      68.    The City of Houston’s Program granting preferential treatment on

the basis of race denies Plaintiffs the full and equal benefit of the laws within

the meaning of 42 U.S.C. § 1981.



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      69.    Plaintiffs are entitled to injunctive and declaratory relief.

                          FOURTH CLAIM FOR RELIEF

            MMD’s MWDBE Program Violates Plaintiffs’ Equal Rights
                   Under the Law, through 42 U.S.C. § 1981

      70.    Plaintiffs allege and incorporate by reference the allegations set

forth in the preceding paragraphs of this Complaint.

      71.    Plaintiffs are “persons” within the meaning of 42 U.S.C. § 1981.

      72.    MMD’s MWDBE Program discriminates on the basis of race in

violation of 42 U.S.C. § 1981.

      73.    MMD’s Program granting preferential treatment on the basis of

race denies Plaintiffs the full and equal benefit of the laws within the meaning

of 42 U.S.C. § 1981.

      74.    Plaintiffs are entitled to injunctive and declaratory relief.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that the Court:

      1.     Declare the City of Houston’s MWSBE program unconstitutional

under the Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution and 42 U.S.C. §§ 1981 & 1983;

      2.     Permanently enjoin the City of Houston from operating its

MWSBE program or using similar racial preferences in the award of public

contracts;



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      3.     Declare   Midtown     Management         District’s   MWDBE   policy

unconstitutional under the Equal Protection Clause of the Fourteenth

Amendment to the United States Constitution;

      4.     Permanently enjoin Midtown Management District from operating

its MWDBE policy or using similar racial preferences in the award of public

contracts;

      5.     Issue an award of attorneys’ fees and costs in this action pursuant

to Federal Rule of Civil Procedure 54(d) and 42 U.S.C. § 1988; and

      6.     Provide such other and further relief as the Court deems just and

proper.



      DATED: September 19, 2023.
                                            Respectfully submitted,

                                            s/ Erin E. Wilcox
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